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KENJIM. PRICE#10523
United States Attorney                                                  FILED IN THE
                                                               UNITED STATES DISTRICT COURT
District of Hawaii                                                  DISTRICT OF HAWAII
                                                                 May 10, 2021, 3:12 pm
                                                               Michelle Rynne, Clerk of Court

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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAll

 UNITED STATES OF AMERICA,                 )   CR. NO. 19-00105 SOM
                                           )
                    Plaintiff,             )   MEMORANDUM OF PLEA
                                           )   AGREEMENT
       vs.                                 )
                                           )   DATE: May 10, 2021
LIANE WILSON,                              )   TIME:  1:30 p.m.
  aka "Liana Shanti "                      )   JUDGE: Hon. Susan 0. Mollway
                     '
                                           )
                    Defendant.             )
_________                                  )


                 MEMORANDUM OF PLEA AGREEMENT

      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the

UNITED STATES OF AMERICA, by its attorney, the United States Attorney for
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the District of Hawaii, and the defendant, LIANE WILSON, and her attorney,

Howard K.K. Luke, Esq., have agreed upon the following:

                                   THE CHARGES

       1.     The defendant acknowledges that she has been charged in the

Indictment with violating Title 18, United States Code, Section 152(1 ).

       2.     The defendant has read the charge against her contained in the

Indictment, and that charge has been fully explained to her by her attorney.

       3.     The defendant fully understands the nature and elements of the crime

with which she has been charged.

                                 THE AGREEMENT

       4.     The defendant will enter a voluntary plea of guilty to the Indictment,

which charges her with Concealment of Bankruptcy Assets. In return, the

government agrees to be bound by the stipulations set forth in paragraph 10 of this

plea agreement.

       5.     The defendant agrees that this Memorandum of Plea Agreement shall

be filed and become part of the record in this case.

       6.    The defendant enters this plea because she is in fact guilty of

Concealment of Bankruptcy Assets as charged in the Indictment, and she agrees

that this plea is voluntary and not the result of force or threats.

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                                   PENALTIES

      7.     The defendant understands that the penalties for the offense to which

she is pleading guilty include:

             a.     A term of imprisonment of up to 5 years and a fine of up to

$250,000, plus a term of supervised release up to 3 years.

             b.    In addition, the Court must impose a $100 special assessment as

to the count to which the defendant is pleading guilty. The defendant agrees to

pay $100 for the count to which she is pleading guilty to the District Court's

Clerk's Office, to be credited to said special assessments, before the

commencement of any portion of sentencing. The defendant acknowledges that

failure to make such full advance payment in a form and manner acceptable to the

prosecution will allow, though not require, the prosecution to withdraw from this

Agreement at its option.

             c.     Forfeiture. Pursuant to 18 U.S.C. § 98l(a)(l)(C) & 28 U.S.C.

§ 2461, forfeiture of any property, real or personal, which constitutes or is derived

from proceeds traceable to a violation of a specified unlawful activity within the

meaning of 18 U.S.C. § 1956(c)(7) or a conspiracy to commit such offense.

             d.     Restitution. The Court must also award restitution pursuant to

Title 18, United States Code, Section 3663A, to the persons and entities victimized

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by the defendant's offenses. The defendant understands that the Court will

determine the amounts of restitution to be ordered, as well as the persons and

entities entitled to such restitution, with the assistance of the United States

Probation Office.

                           FACTUAL STIPULATIONS

       8.    The defendant admits the following facts and agrees that they are not

a detailed recitation, but merely an outline of what happened in relation to the

charge to which the defendant is pleading guilty:

             a.     From on or about and between May 17, 2011, and August 20,

2014, both dates being approximate and inclusive, within the District of Hawaii,

Liane Wilson and Robert Beard, the defendants, did knowingly and fraudulently

conceal assets belonging to the bankruptcy estate in In re Liane N Wilson, case

number 11-01392, in the U.S. Bankruptcy Court for the District of Hawaii, namely

income generated from the sale of a diamond ring, from the trustee charged with

 control of the debtor's property and from the creditors and the United States

Trustee.

             b.     On April 11, 2011, Beard sold a five-carat diamond ring ("the

ring") to a Texas-based diamond broker. Beard and Wilson received $42,000




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from the sale of the ring. Beard had the diamond broker issue five cashier's

checks payable to solely to him, each in an amount less than $10,000.

              c.    On May 17, 2011, Wilson, represented by her bankruptcy

attorney Thomas Y ano, filed for bankruptcy. In preparation for the filing of her

bankruptcy, Wilson did not inform Mr. Y ano that she was aware of assets received

as a result of Beard selling the ring. Wilson failed to disclose any reference to

income generated from the sale of the ring to the bankruptcy court by not

informing Mr. Y ano, as her attorney, of the assets received as a result of Beard

selling the ring.

       9.     Pursuant to CrimLR 32.l(a) of the Local Rules of the United States

District Court for the District of Hawaii, the parties agree that the charge to which

the defendant is pleading guilty adequately reflects the seriousness of the actual

offense behavior and that accepting this Agreement will not undermine the

statutory purposes of sentencing.

                        SENTENCING STIPULATIONS

       10.    Pursuant to CrimLR 32.l(b) of the Local Rules of the United States

District Court for the District of Hawaii and Section 6Bl.4 of the Sentencing

Guidelines, the parties stipulate to the following for the purpose of the sentencing

of the defendant in connection with this matter:

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             a.      The parties agree that pursuant to Section 2B 1.1 (b )(1) of the

sentencing guidelines, the total loss in this case is more than $40,000 but less than

$95,000.

             b.      At sentencing, the United States agrees to recommend that the

defendant receive a five-year term of probation, with no term of imprisonment.

The defendant understands that the United States' recommendation is not binding

on the Court.

             c.      As of the date of this agreement, it is expected that the

defendant will enter a plea of guilty prior to the commencement of trial, will

truthfully admit her involvement in the offense and related conduct, and will not

engage in conduct that is inconsistent with such acceptance of responsibility. If

all of these events occur, and the defendant's acceptance of responsibility

continues through the date of sentencing, a downward adjustment of 2 levels for

acceptance of responsibility will be appropriate. See U.S.S.G. § 3El.l(a) and

Application Note 3.

                d.   The United States Attorney agrees that the defendant's

agreement herein to enter into a guilty plea constitutes notice of intent to plead

guilty in a timely manner, so as to permit the government to avoid preparing for

trial as to the defendant. Accordingly, the United States Attorney anticipates

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moving in the Government's Sentencing Statement for a one-level reduction in

sentencing offense level pursuant to Guideline§ 3El.l(b)(2), if the defendant is

otherwise eligible. The defendant understands that notwithstanding its present

intentions, and still within the Agreement, the prosecution reserves the rights (1) to

argue to the contrary in the event of receipt of new information relating to those

issues, and (2) to call and examine witnesses on those issues in the event that either

the United States Probation Office finds to the contrary of the prosecution's

intentions or the Court requests that evidence be presented on those issues.

       11.   The parties agree that notwithstanding the parties' Agreement herein,

the Court is not bound by any stipulation entered into by the parties but may, with

the aid of the presentence report, determine the facts relevant to sentencing. The

parties understand that the Court's rejection of any stipulation between the parties

does not constitute a refusal to accept this Agreement since the Court is expressly

not bound by stipulations between the parties.

       12.   The parties represent that as of the date of this agreement there are no

material facts in dispute.

                       APPEAL/COLLATERAL REVIEW

       13.   The defendant is aware that she has the right to appeal her conviction

and the sentence imposed. The defendant knowingly and voluntarily waives the

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right to appeal, except as indicated in subparagraph "b" below, her conviction and

any sentence within the Guidelines range as determined by the Court at the time of

sentencing, and any lawful restitution order imposed, or the manner in which the

sentence or restitution order was determined, on any ground whatsoever, in

exchange for the concessions made by the prosecution in this Agreement. The

defendant understands that this waiver includes the right to assert any and all

legally waivable claims.

             a.    The defendant also waives the right to challenge her conviction

or sentence or the manner in which it was determined in any collateral attack,

including, but not limited to, a motion brought under Title 28, United States Code,

Section 2255, except that the defendant may make such a challenge (1) as

indicated in subparagraph "b" below, or (2) based on a claim of ineffective

assistance of counsel.

             b.    If the Court imposes a sentence greater than specified in the

guideline range determined by the Court to be applicable to the defendant, the

defendant retains the right to appeal the portion of her sentence greater than

specified in that guideline range and the manner in which that portion was

determined and to challenge that portion of her sentence in a collateral attack.




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             c.     The prosecution retains its right to appeal the sentence and the

manner in which it was determined on any of the grounds stated in Title 18, United

States Code, Section 3742(b).

                           FINANCIAL DISCLOSURE

      14.    In connection with the collection of restitution or other financial

obligations that may be imposed upon her, the defendant agrees as follows:

             a.     The defendant agrees to fully disclose all assets in which she

has any interest or over which she exercises control, directly or indirectly,

including any assets held by a spouse, nominee, or third party. The defendant

understands that the United States Probation Office (USPO) will conduct a

presentence investigation that will require the defendant to complete a

comprehensive financial statement. To avoid the requirement of the defendant

completing financial statements for both the USPO and the government, the

defendant agrees to truthfully complete a financial statement provided to the

defendant by the United States Attorney's Office. The defendant agrees to

complete the disclosure statement and provide it to the USPO within the time

frame required by the United States Probation officer assigned to the defendant's

case. The defendant understands that the USPO will in turn provide a copy of the

completed financial statement to the United States Attorney's Office. The

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 defendant agrees to provide written updates to both the USPO and the United

 States Attorney's Office regarding any material changes in circumstances, which

 occur prior to sentencing, within seven days of the event giving rise to the changed

 circumstances. The defendant's failure to timely and accurately complete and

 sign the financial statement, and any written update thereto, may, in addition to any

 other penalty or remedy, constitute the defendant's failure to accept responsibility

 under U.S.S.G § 3El.1.

              b.     The defendant expressly authorizes the United States

 Attorney's Office to obtain her credit report. The defendant agrees to provide

 waivers, consents, or releases requested by the United States Attorney's Office to

 access records to verify the financial information, such releases to be valid for a

 period extending 90 days after the date of sentencing. The defendant also

 authorizes the United States Attorney's Office to inspect and copy all financial

 documents and information held by the USPO.

              c.    Prior to sentencing, the defendant agrees to notify the Financial

 Litigation Unit of the U.S. Attorney's Office before making any transfer of an

 interest in property with a value exceeding $1,000 owned directly or indirectly,

 individually or jointly, by the defendant, including any interest held or owned

 under any name, including trusts, paiinerships, and corporations.

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                           IMPOSITION OF SENTENCE

       15.    The defendant understands that the District Court in imposing

 sentence will consider the provisions of the Sentencing Guidelines. The defendant

 agrees that there is no promise or guarantee of the applicability or non-applicability

 of any Guideline or any portion thereof, notwithstanding any representations or

 predictions from any source.

       16.    The defendant understands that this Agreement will not be accepted or

 rejected by the Court until there has been an opportunity by the Court to consider a

 presentence report, unless the Court decides that a presentence report is

 unnecessary. The defendant understands that the Court will not accept an

 agreement unless the Court determines that the remaining charge adequately

 reflects the seriousness of the actual offense behavior and accepting the Agreement

 will not undermine the statutory purposes of sentencing.

                           WAIVER OF TRIAL RIGHTS

       17.    The defendant understands that by pleading guilty she surrenders

 certain rights, including the following:

              a.     If the defendant persisted in a plea of not guilty to the charges

 against her, then she would have the right to a public and speedy trial. The trial

 could be either a jury trial or a trial by a judge sitting without a jury. The

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 defendant has a right to a jury trial. However, in order that the trial be conducted

 by the judge sitting without a jury, the defendant, the prosecution, and the judge all

 must agree that the trial be conducted by the judge without a jury.

              b.    If the trial is a jury trial, the jury would be composed of twelve

 laypersons selected at random. The defendant and her attorney would have a say

 in who the jurors would be by removing prospective jurors for cause where actual

 bias or other disqualification is shown, or without cause by exercising peremptory

 challenges. The jury would have to agree unanimously before it could return a

 verdict of either guilty or not guilty. The jury would be instructed that the

 defendant is presumed innocent, and that it could not convict her unless, after

 hearing all the evidence, it was persuaded of her guilt beyond a reasonable doubt.

              c.    If the trial is held by a judge without a jury, the judge would

 find the facts and determine, after hearing all the evidence, whether or not he or

 she was persuaded of the defendant's guilt beyond a reasonable doubt.

              d.    At a trial, whether by a jury or a judge, the prosecution would

 be required to present its witnesses and other evidence against the defendant. The

 defendant would be able to confront those prosecution witnesses and her attorney

 would be able to cross-examine them. In turn, the defendant could present

 witnesses and other evidence on her own behalf. If the witnesses for the

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 defendant would not appear voluntarily, the defendant could require their

 attendance through the subpoena power of the Court.

              e.     At a trial, the defendant would have a privilege against

 self-incrimination so that she could decline to testify, and no inference of guilt

 could be drawn from her refusal to testify.

       18.    The defendant understands that by pleading guilty, she is waiving all

 of the rights set forth in the preceding paragraph. The defendant's attorney has

 explained those rights to her, and the consequences of the waiver of those rights.

                          USE OF PLEA STATEMENTS

       19.    If, after signing this Agreement, the defendant decides not to plead

 guilty as provided herein, or if the defendant pleads guilty but subsequently makes

 a motion before the Court to withdraw her guilty plea and the Court grants that

 motion, the defendant agrees that any admission of guilt that she makes by signing

 this Agreement or that she makes while pleading guilty as set forth in this

 Agreement may be used against her in a subsequent trial if the defendant later

 proceeds to trial. The defendant voluntarily, knowingly, and intelligently waives

 any protection afforded by Rule 11 (f) of the Federal Rules of Criminal Procedure

 and Rule 410 of the Federal Rules of Evidence regarding the use of statements

 made in this Agreement or during the course of pleading guilty when the guilty

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 plea is later withdrawn. The only exception to this paragraph is where the

 defendant fully complies with this Agreement but the Court nonetheless rejects it.

 Under those circumstances, the United States may not use those statements of the

 defendant for any purpose.

       20.       The defendant understands that the prosecution will apprise the Court

 and the United States Probation Office of the nature, scope and extent of the

 defendant's conduct regarding the charges against her, related matters, and any

 matters in aggravation or mitigation relevant to the issues involved in sentencing.

       21.       The defendant and her attorney acknowledge that, apart from any

 written proffer agreements, if applicable, no threats, promises, agreements or

 conditions have been entered into by the parties other than those set forth in this

 Agreement, to induce the defendant to plead guilty. Apart from any written

 proffer agreements, if applicable, this Agreement supersedes all prior promises,

 agreements or conditions between the parties.

       22.       To become effective, this Agreement must be signed by all signatories

 listed below.

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        23.    Should the Court refuse to accept this Agreement, it is null and void

  and neither party shall be bound thereto.

               DATED: Honolulu, Hawaii,

  AGREED:

  KENJI M. PRICE
  United States Attorney
  District of Hawaii



                                                   ls/Howard K.K. Luke
                                                   HOWARD K.K. LUKE
                                                   A1!ey   for Defendant



  MICHAEL D. NAMMAR
                                              'ul~~~~~
  Assistant U.S. Attorney                          Defendant




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